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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

TRACI FEIT LOVE, an individual,           )
                                          )
                                          )
            Plaintiff,                    ) Case No.:
                                          )
            v.                            ) COMPLAINT
                                          )
                                          )
CAVALRY SPV I LLC, a Delaware             ) JURY TRIAL DEMANDED
Limited Liability Company; and            )
ALDRIDGE PITE HAAN LLP, a                 )
                                          )
Limited Liability Partnership,            )
                                          )
            Defendants.                   )
                                          )
                                          )

                                  COMPLAINT

      COMES NOW Traci Feit Love, Plaintiff, and states the following Complaint

against Defendant CAVALRY SPV I LLC and Defendant ALDRIDGE PITE

HAAN LLP for violations of the Fair Debt Collection Practices Act (FDCPA), 15

U.S.C. §§ 1692 et seq.

                          JURISDICTION AND VENUE

1.    This action arises out of Defendants’ illegal and improper efforts to collect a

      consumer debt, and includes violations of the Fair Debt Collection Practices

      Act (FDCPA), 15 U.S.C. §§ 1692 et seq. (the “FDCPA”), as well as

      Georgia’s Fair Business Practices Act, O.C.G.A. §§ 10-1-390 et seq.


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     (“FBPA”); and Plaintiff’s claims under these statutes are so related that they

     form the same case or controversy.

2.   Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331 (Federal

     Question), 15 U.S.C. § 1692k, 15 U.S.C. §§ 1681 et seq., and 28 U.S.C. §§

     1331 & 1337, as well as 28 U.S.C. § 1367 (Supplemental Jurisdiction).

3.   This Court has personal jurisdiction over the Defendants for the purposes of

     this action because both Defendants regularly attempt to collect debts from

     residents of Georgia in the State of Georgia, Defendant CAVALRY SPV I

     LLC has a registered agent located in the State of Georgia, Defendant

     ALDRIDGE PITE HAAN LLP has its principal place of business within the

     State of Georgia, Plaintiff is a resident of the State of Georgia, and the

     committed acts that form the basis for this suit occurred within the State of

     Georgia and this District.

4.   Venue is proper in the Northern District of Georgia pursuant to 28 U.S.C. §

     1391 because Defendant CAVALRY SPV I LLC has a registered agent

     located within this District, Defendant ALDRIDGE PITE HAAN LLP has a

     principal place of business within this District, and Plaintiff is a resident of

     this District.




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                                    PARTIES

5.   TRACI FEIT LOVE, née TRACI FEIT, is a resident of Georgia, and was so

     at all times relevant to this action, and is a consumer under 15 U.S.C. §

     1692a(3).

6.   CAVALRY SPV I LLC (“CAVALRY”) is a Limited Liability Company

     organized under the laws of the State of Delaware that regularly transacts

     business within the State of Georgia, regularly targets Georgia residents for

     the collection of debts, and has a registered agent in Georgia named C T

     Corporation System and located at 289 S Culver St, Lawrenceville, GA,

     30046-4805.

7.   ALDRIDGE PITE HAAN LLP (“APH”) is a Limited Liability Partnership

     with its principal place of business located at 6100 Lake Forrest Drive, NW,

     ATLANTA, GA 30328.

                          FACTUAL ALLEGATIONS

8.   TRACI FEIT LOVE is a natural person, and is not a corporation, limited

     liability company, or other legal entity.

9.   ALDRIDGE PITE HAAN LLP’s website states that it is “a multi-state law

     firm representing national and regional banks, automobile financing lenders,




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      hospitals, medical service providers, debt buyers, and other lenders and

      financial institutions.”1

10.   In short, Defendant ALDRIDGE PITE HAAN LLP is a debt collector.

11.   Defendant ALDRIDGE PITE HAAN LLP regularly attempts to collect,

      directly or indirectly, debts owed or due or asserted to be owed or due

      another using the instrumentalities of interstate commerce, including the

      mails and the interstate telephone system.

12.   Defendant CAVALRY SPV I LLC is registered as a consumer collection

      agency with the Florida Office of Financial Regulation, with the License

      Number CCA9902538.

13.   Defendant CAVALRY SPV I LLC is registered as a debt collector with the

      Minnesota Department of Revenue, with the License Number 40175658.

14.   Upon information and belief, Defendant CAVALRY SPV I LLC regularly

      collects or attempts to collect debts owed or due to others.

15.   The principal purpose of Defendant CAVALRY SPV I LLC’s business is

      the collection of any debts.




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  Aldridge Pite Haan LLP, available at (http://www.aph-
law.com/#ample_call_to_action_widget-2) (last accessed Dec. 22, 2022).

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16.   Defendants filed a lawsuit against Plaintiff in Fulton County State Court on

      November 28, 2018—Cavalry SPV I LLC v. Feit, Case No. 18EV005741

      (the “First State Lawsuit”).

17.   The First State Lawsuit was dismissed by Fulton County State Court on May

      9, 2019, for failure to serve Plaintiff.

18.   Defendants filed a second lawsuit against Plaintiff in Fulton County State

      Court on August 9, 2019—Cavalry SPV I LLC v. Feit, Case No.

      19EV004212 (the “Second State Lawsuit”).

19.   The Second State Lawsuit was dismissed by Fulton County State Court on

      December 10, 2021, for failure to serve Plaintiff.

20.   The statute of limitations on Defendants’ claims against Plaintiff expired

      after the dismissal of the Second Lawsuit.

21.   Defendants caused Plaintiff to be served with a Summons and copy of the

      First State Lawsuit on January 15, 2022.

22.   These documents were not legal process on January 15, 2022, because the

      First State Lawsuit was dismissed more than two years prior.

23.   Defendants filed an affidavit of service based on the improper and illegal

      service of the First State Lawsuit, but filed this return of service in the

      Second State Lawsuit.


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24.   The affidavit of service filed in the Second State Lawsuit falsely claimed

      Plaintiff was served with the Second State Lawsuit, even though the

      documents she received were for the First State Lawsuit.

25.   Further, the Second State Lawsuit was already dismissed by the time

      Defendants filed the affidavit of service, and the affidavit of service was

      masquerading as valid legal process when it was not.

26.   Plaintiff was forced to incur legal costs to ensure her rights under the law

      were protected as a result of Defendants filing a false affidavit of service in

      the Second State Lawsuit.

27.   Plaintiff was also forced to incur legal costs to protect her rights under the

      law and ensure that the improper service of the First State Lawsuit was not

      used improperly by Defendants in the First State Lawsuit.

28.   Plaintiff, through her legal counsel in the state court cases, filed special

      appearances to challenge any service of process, incurring no less than

      $861.44 in attorneys’ fees and costs she would not have incurred but for

      Defendants’ actions.

29.   Plaintiff stress, anxiety, frustration, and worry in the form of emotional

      distress as a result of Defendants representations or implications that the

      documents delivered to her were legal process.


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30.   Plaintiff’s injuries caused by Defendants’ violations of the FDCPA are

      particular and concrete in that they are legally cognizable injuries through

      the FDCPA, they have invaded Plaintiff’s legal rights, invaded her right to

      be free from attempts to collect debts she does not owe, invaded her right to

      be given accurate information about how much of a debt she does owe,

      invaded her right to be treated fairly and with conscious regard, and have

      resulted in Plaintiff suffering stress and anxiety, emotional distress, as well

      as valuable lost time and resources.

31.   Plaintiff has incurred actual damages—both specific in legal fees and costs

      incurred, and general in the form of emotional distress—as a direct result of

      Defendants’ actions in violation of the FDCPA that she would not have

      suffered but for Defendants’ FDCPA violations.



                              CAUSES OF ACTION

                                     Count 1
               Violations of the Fair Debt Collection Practices Act

32.   Defendants’ delivery of a false summons and copies of the First State

      Lawsuit to Plaintiff after that lawsuit, and the Second State Lawsuit, had

      already been dismissed falsely represented or implied that the documents



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      delivered to Plaintiff were legal process when there were not in violation of

      the Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692 et seq.

33.   Defendants’ filing of a false affidavit of service in the Second State Lawsuit

      claiming Plaintiff was served with the Second State Lawsuit despite said

      lawsuit already being dismissed, and despite the documents being delivered

      to Plaintiff being documents for the First State Lawsuit, violates the Fair

      Debt Collection Practices Act, 15 U.S.C. §§ 1692 et seq.

34.   Defendants’ efforts to continue to collect the alleged debt from Plaintiff

      through litigation beyond the statute of limitations violates the Fair Debt

      Collection Practices Act, 15 U.S.C. §§ 1692 et seq.

35.   Defendants’ efforts to collect an amount from Plaintiff not permitted by law

      or by contract violates the Fair Debt Collection Practices Act, 15 U.S.C. §§

      1692 et seq.

36.   As a direct result Defendants’ actions in violation of the FDCPA, Plaintiff

      suffered stress, anxiety, and emotional distress—otherwise known as

      garden-variety emotional distress—and suffered lost resources and valuable

      time in dealing with these collection efforts.

37.   As a direct result Defendants’ actions in violation of the FDCPA, Plaintiff

      incurred legal costs and fees she would not have incurred but for


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      Defendants’ actions in violation of the FDCPA in an amount not less than

      $861.44.

38.   Further, Defendants’ violations of the FDCPA, 15 U.S.C. §§ 1692 et seq.,

      make them liable to Plaintiff for not just the actual damages identified

      above, but also for statutory damages of up to the maximum of $1,000 for

      each Defendant, plus reasonable court costs and attorneys’ fees in

      accordance with the FDCPA, 15 U.S.C. § 1692k(a)(2)-(3).



                                 JURY DEMAND

39.   Plaintiff demands a trial by jury.



      WHEREFORE, Plaintiff prays that this Court:

      (1)   Find all Defendants liable for violations of the Fair Debt Collection
            Practices Act for the reasons stated in the Complaint above;

      (2)   Award Plaintiff the full $1,000 statutory damages for each Defendant’s
            FDCPA violations;

      (3)   Award Plaintiff actual damages against Defendants in an amount to be
            shown with more particularity at a later date for Defendants’ FDCPA
            violations;

      (4)   Award Plaintiff the reasonable costs of this action;

      (5)   Award Plaintiff other reasonable expenses of litigation;


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(6)   Grant Plaintiff such other and additional relief as the Court deems just
      and equitable.

Respectfully submitted this 15 January 2023.

                                   /s/ John William Nelson
                                   John William Nelson
                                   Georgia Bar No. 920108
                                   john@nelsonchambers.com
                                   Attorney for Plaintiff

                                   The Nelson Law Chambers LLC
                                   2180 Satellite Blvd, Suite 400
                                   Duluth, Georgia 30097
                                   Ph. 404.348.4462
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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local R. 7.1(D), this is to certify that the foregoing complies

with the font and point setting approved by the Court in Local R. 5.1(B). The

foregoing COMPLAINT was prepared on a computer, using Times New Roman

14-point font.

      DATED:      15 January 2023

                                     /s/ John William Nelson
                                     John William Nelson
                                     State Bar No. 920108

                                     Attorney for Plaintiff

                                     The Nelson Law Chambers LLC
                                     2180 Satellite Blvd, Suite 400
                                     Duluth, Georgia 30097
                                     Ph. 404.348.4462
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                       VERIFICATION OF COMPLAINT

       Pursuant to 28 U.S.C. § 1746, Plaintiff TRACI FEIT LOVE, having first

been duly sworn and upon oath, verifies, certifies, and declares as follows:

1. I am a Plaintiff in this civil proceeding.

2. I have read the above-entitled civil Complaint prepared by my attorneys and I

believe that all of the facts contained in it are true, to the best of my knowledge,

information and belief formed after reasonable inquiry.

3. I believe that this civil Complaint is well grounded in fact and warranted by

existing law or by a good faith argument for the extension, modification, or

reversal of existing law.

4. I believe that this civil Complaint is not interposed for any improper purpose,

such as to harass any Defendant(s), cause unnecessary delay to any Defendant(s),

or create a needless increase in the cost of litigation to any Defendant(s), named in

the Complaint.

5. I have filed this civil Complaint in good faith and solely for the purposes set

forth in it.

       I declare under penalty of perjury that the foregoing is true and correct.
                     01 / 15 / 2023
Executed on         __________________________________________

                    __________________________________________
                                   Signature

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